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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

 UNITED STATES OF AMERICA,                                §
                   Plaintiff,                             §
                                                          §
 v.                                                       §   CASE NO. 7:20-CV-416
                                                          §
 11.1 ACRES OF LAND, MORE OR LESS,                        §
 SITUATE IN STARR COUNTY, STATE OF                        §
 TEXAS; AND THE CITY OF RIO                               §
 GRANDE CITY, TEXAS, ET AL.,                              §
                   Defendants.                            §


                    JOINT STIPULATION FOR REVESTMENT AND
                     MOTION FOR ENTRY OF FINAL JUDGMENT

       Plaintiff United States of America and Defendant City of Rio Grande City, Texas, do

hereby stipulate to the revestment of interests taken in Tracts RGV-RGC-6028 and RGV-RGC-

7006-1 as described in Schedules “C”, “D”, and “E” of the Declaration of Taking (Dkt. No. 2).

       The parties further stipulate and agree as follows:

A.     Background

       1.     On December 17, 2020, Plaintiff United States of America (“United States”) filed

a Declaration of Taking (Dkt. No. 2) and Complaint in Condemnation (Dkt. No. 1) to acquire 11.1

acres in fee identified as Tracts RGV-RGC-6028 and RGV-RGC-7006-1. On January 13, 2021,

the United States deposited its estimated just compensation for Tracts RGV-RGC-6028 and RGV-

RGC-7006-1. See Dkt. No. 6. Pursuant to 40 U.S.C. § 3114(b)(1), upon deposit of the estimated

just compensation, title to Tracts RGV-RGC-6028 and RGV-RGC-7006-1 vested in the name of

the United States by operation of law on January 13, 2021.

       2.     The United States does not have possession of Tracts RGV-RGC-6028 and RGV-

RGC-7006-1; no possession order has ever been issued.



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        3.       The Parties agree that Defendant City of Rio Grande City, Texas, is the sole owner

of the interests acquired in Tracts RGV-RGC-6028 and RGV-RGC-7006-1.

B.      Stipulation of Revestment

        4.       Pursuant to 40 U.S.C. § 3117, the United States may agree or stipulate to the

revestment of condemned property to resolve condemnation cases.

        5.       The United States and Defendant City of Rio Grande City, Texas, jointly stipulate

and agree that all right, title, and interests acquired by the United States associated with or

appurtenant to Tracts RGV-RGC-6028 and RGV-RGC-7006-1 are hereby REVESTED back to

Defendant with all title and rights as existed immediately before the filing of the Declaration of

Taking and title vesting in the United States.

        6.       Defendant hereby agrees to accept such REVESTMENT of Tracts RGV-RGC-

6028 and RGV-RGC-7006-1.

        7.       The legal descriptions and surveys of Tracts RGV-RGC-6028 and RGV-RGC-

7006-1 that are being REVESTED to Defendant are found in Schedule “C” and “D” of the

Declaration of Taking (Dkt. No. 2) and are attached hereto as Exhibits 1 and 2.

C.      Stipulation Regarding Just Compensation and Motion for Final Judgment

        8.       The Parties further make a stipulation and move for final judgment and termination

of this case as follows:

                A.      Upon the Court’s Order entering final judgment in accordance with the
        instant stipulation of revestment, the Parties seek immediate distribution of:

                  •    The sum of $42,325.00, with accrued interest, payable to the order of “F&A
                       Officer, USAED, Fort Worth,” with the check referencing “Tracts RGV-RGC-
                       6028 and RGV-RGC-7006-1.” 1

1
 The current Finance and Accounting Officer for the U.S. Army Engineer District, Fort Worth, is: Charanne Marshall,
Finance and Accounting Officer, USACE, Fort Worth District, P.O. Box 17300, Room 3A37, Fort Worth, TX 76102.




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         B.      Defendant warrants they were the sole owner of the interest in the property
 taken in this proceeding on the respective date of taking.

         C.     Defendant agrees to waive any and all claims for compensation of any
 nature against the United States arising from the United States’ acquisition of the Subject
 Property.

        D.      The Parties shall be responsible for their own legal fees, costs, and expenses,
 including attorneys’ fees, consultants’ fees, and any other expenses or costs.

        E.     The Parties shall take no appeal from any rulings or judgment made by the
 Court in this action, and the parties’ consent to the entry of all motions, orders, and
 judgments necessary to effectuate this stipulation.

        F.      This joint stipulation and motion is binding on the heirs, trustees, executors,
 administrators, devisees, successors, assigns, agents, and representatives of Defendant.

         G.      The Parties request that the Court enter an Order of Final Judgment
 reflecting this Stipulation and closing this case.




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                                                    Respectfully submitted,

FOR DEFENDANT:                                      FOR PLAINTIFF:

By:    s/ Jose “Pepe” Garza w/permission            JENNIFER B. LOWERY
       Jose “Pepe” Garza                            Acting United States Attorney
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                                                    and

                                                    s/ Chanmealea Thou
                                                    Chanmealea Thou
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                                                    Attorney for Plaintiff

                               CERTIFICATE OF SERVICE

       I, N. Joseph Unruh, Assistant United States Attorney for the Southern District of Texas,

hereby certify that on September 29, 2021, a copy of the foregoing was served on all parties in

accordance with the Federal Rules of Civil Procedure.

                                                    s/ N. Joseph Unruh
                                                    N. JOSEPH UNRUH
                                                    Assistant United States Attorney



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